                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF WISCONSIN
                                    MILWAUKEE DIVISION


MARY MCGALLOWAY, Individually and on                     Case No.: 20-cv-1740
Behalf of All Others Similarly Situated,

                  Plaintiff,

       v.                                                Hon. Stephen C. Dries

DEBT RESOLUTION DIRECT, LLC,
d/b/a DEBT ADVISORS OF AMERICA,

                  Defendant.


       DECLARATION OF BEN J. SLATKY IN SUPPORT OF PLAINTIFF’S
  BRIEF IN OPPOSITION TO DEFENDANT’S MOTION FOR RULE 11 SANCTIONS


       I, Ben J. Slatky, state under penalty of perjury pursuant to 28 U.S.C. § 1746, that the

following is true and correct:

       1.         I am an attorney of record for Plaintiff Mary McGalloway (“Plaintiff”) in the

present action.

       2.         Attached hereto as Exhibit A is a true and correct copy of DRD’s Responses to

Plaintiff’s First Set of Discovery Requests.

       3.         Along with such written discovery responses, DRD produced an audio recording of

the telephone call described in Request for Production No. 3.

       4.         The following text transcribes, the best of my understanding, a relevant portion of

the conversation between a representative of DRD and a representative of Plaintiff:

       DRD Representative: We work with the American Fair Credit Council. And so
       what they do is that, again, from what we see here, Mary has been making her
       payments for more than 12 months, so she’s been paying and paying, paying on the




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          debt, but the balances are not moving. So they sent out the courtesy, there’s options
          for her to have the debt paid off.

          Plaintiff’s Representative: So how are you getting all this information about
          payments and stuff?

          DRD Representative: We with the creditors themselves. So we work with the banks
          that she owes money to. They let us know when there’s clients that are making
          payments. So they put codes into her credit and that’s what puts out the trigger
          notice. Because it’s saying that she has debt that she has been paying on for quite
          some time, the balances don’t really go down, and so they’re providing options for
          her as a consumer to have the debt paid.

          5.       Attached hereto as Exhibit B is a true and correct copy of an e-mail

correspondence between Plaintiff’s counsel and Defendant’s counsel in connection with this

matter.

          6.       Attached hereto as Exhibit C is a true and correct reproduction of the webpage

located at the following web address as of August 25, 2022: http://www.thedatasuite.net/data-

products.html.

                                                        /s/ Ben J. Slatky_________
                                                        Ben J. Slatky




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